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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

  MERILYN STRONG,                                                                        Plaintiff,

  v.                                                      Civil Action No. 3:19-cv-519-DJH-CHL

  NORTON HEALTHCARE, INC.,                                                             Defendant.

                                             * * * * *

                                              ORDER

        The parties having agreed to a settlement of all matters in this case (Docket No. 32), and

 the Court being otherwise sufficiently advised, it is hereby

        ORDERED that this action is DISMISSED without prejudice. All dates and deadlines

 previously set in this matter are VACATED.

        The parties shall tender an agreed order of dismissal with prejudice within thirty (30) days

 of entry of this Order. The Court will entertain a motion to redocket the action within thirty (30)

 days of entry of this Order in the event the settlement is not consummated.

        August 31, 2020




                                                         David J. Hale, Judge
                                                      United States District Court




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